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UNITED STATES COURT OF INTERNATIONAL TRADE

                                                       :
BRAL CORPORATION,                                      :
                                                       :
                                                       :
                                Plaintiff,             :       Court No. 20-00154
                                                       :
                        v.                             :
                                                       :
UNITED STATES,                                         :
                                                       :
                                Defendant.             :
                                                       :

                                              ORDER

       Upon consideration of defendant’s partial motion to dismiss, other papers on file, and

upon due deliberation, it is hereby

       ORDERED that defendant’s motion be and is hereby is granted; and it is further

       ORDERED that Entry No. 949-0008813-2 is severed from this action, and all claims

identified in the complaint related to this entry are dismissed.



                                               __________________________
                                                        JUDGE

Dated: ____________________
       New York, New York
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UNITED STATES COURT OF INTERNATIONAL TRADE

                                                       :
BRAL CORPORATION,                                      :
                                                       :
                                                       :
                                Plaintiff,             :       Court No. 20-00154
                                                       :
                        v.                             :
                                                       :
UNITED STATES,                                         :
                                                       :
                                Defendant.             :
                                                       :

                     DEFENDANT’S PARTIAL MOTION TO DISMISS

       Pursuant to Rule 12(b)(1) of the Rules of the United States Court of International Trade,

defendant respectfully requests that this Court sever Entry No. 949-0008813-2 from this action,

and dismiss all claims related to this entry. The reasons for our motion are set forth in the

accompanying memorandum.
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       WHEREFORE, defendant respectfully requests that an order be entered granting

defendant’s partial motion to dismiss and granting defendant such other and further relief as may

be just and appropriate.

                                             Respectfully submitted,

                                             BRIAN M. BOYNTON
                                             Acting Assistant Attorney General

                                             JEANNE E. DAVIDSON
                                             Director

                                              /s/ Justin R. Miller
                                             JUSTIN R. MILLER
                                             Attorney-in-Charge
                                             International Trade Field Office

Of Counsel:                                  /s/ Alexander Vanderweide
Sabahat Chaudhary                            ALEXANDER VANDERWEIDE
Office of Chief Counsel                      Senior Trial Attorney
U.S. Customs & Border Protection             Department of Justice, Civil Division
                                             Commercial Litigation Branch
                                             26 Federal Plaza, Room 346
                                             New York, New York 10278
                                             Tel. (212) 264-9230 or 0482
                                             Attorneys for Defendant
May 3, 2021




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UNITED STATES COURT OF INTERNATIONAL TRADE

                                                 :
BRAL CORPORATION,                                :
                                                 :
                                                 :
                            Plaintiff,           :       Court No. 20-00154
                                                 :
                     v.                          :
                                                 :
UNITED STATES,                                   :
                                                 :
                            Defendant.           :
                                                 :

  DEFENDANT’S MEMORANDUM IN SUPPORT OF THE PARTIAL MOTION TO
                          DISMISS

                                         BRIAN M. BOYNTON
                                         Acting Assistant Attorney General

                                         JEANNE E. DAVIDSON
                                         Director

                                         JUSTIN R. MILLER
                                         Attorney-in-Charge
                                         International Trade Field Office
Of Counsel:
Sabahat Chaudhary                        ALEXANDER VANDERWEIDE
Office of Chief Counsel                  Senior Trial Attorney
U.S. Customs & Border Protection         Department of Justice, Civil Division
                                         Commercial Litigation Branch
                                         26 Federal Plaza, Room 346
                                         New York, New York 10278
                                         Tel. (212) 264-9230 or 0482
                                         Attorneys for Defendant
May 3, 2021
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UNITED STATES COURT OF INTERNATIONAL TRADE

                                                     :
BRAL CORPORATION,                                    :
                                                     :
                                                     :
                               Plaintiff,            :       Court No. 20-00154
                                                     :
                        v.                           :
                                                     :
UNITED STATES,                                       :
                                                     :
                               Defendant.            :
                                                     :

   DEFENDANT’S MEMORANDUM IN SUPPORT OF THE PARTIAL MOTION TO
                           DISMISS

       Pursuant to Rule 12(b)(1) of the Rules of the United States Court of International Trade,

defendant respectfully requests that the Court sever Entry No. 949-0008813-2 from this action

and dismiss all claims related to the entry. The Court does not have jurisdiction pursuant to 28

U.S.C. § 1581(a) over Entry No. 949-0008813-2 because plaintiff did not protest the final and

conclusive reliquidation of the entry.

                                         BACKGROUND

       This action covers twelve (12) entries of plywood imported from China by plaintiff,

BRAL Corporation (BRAL), at the Port of Cleveland on various dates in 2017 and 2018. See

Entries, ECF No. 6. The imported plywood identified within the entries was subject to

antidumping and countervailing duties in accordance with Certain Hardwood Plywood Products

from the People’s Republic of China: Amended Final Determination of Sales at Less than Fair

Value, and Antidumping Duty Order, 83 Fed. Reg. 504 (January 4, 2018) (A-570-051) and

Certain Hardwood Plywood Products from the People’s Republic of China: Countervailing Duty

Order, 83 Fed. Reg. 513 (January 4, 2018) (C-570-052) (the Orders). As a result of the Orders,
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the liquidation of the entries became suspended by operation of law. See American Power Pull

Corp. v. United States, 121 F. Supp. 3d 1296, 1300-02 (Ct. Int’l Trade 2015) (describing the

statutory scheme for suspension of liquidation in the antidumping duty system). The Department

of Commerce (Commerce) noticed the lifting of the suspension on April 1, 2019, and liquidation

instructions for entries subject to the Orders were provided by Commerce to U.S. Customs and

Border Protection (CBP) on April 22, 2019 (Message No. 9112309), May 16, 2019 (Message

No. 9136301) and November 5, 2019 (Message No. 9309303). See Messages, attached hereto as

Ex. A.

         On May 3, 2019, three of BRAL’s twelve entries were liquidated by CBP, and on

October 25, 2019, BRAL timely filed Protest No. 4101-19-100494 against these liquidations.

See Entries and Protests, ECF No. 6.

         The remaining nine entries, including Entry No. 949-0008813-2, became deemed

liquidated by operation of law on October 1, 2019 or on December 2, 2019 pursuant to 19 U.S.C.

§ 1504(d) because the entries were not liquidated by CBP within six months of the date that CBP

received notice of the lifting of the suspension of liquidation. See Entries, ECF No. 6. On

December 20, 2019, CBP reliquidated the nine entries, and on December 23, 2019 BRAL filed

Protest No. 4101-19-100808 against the December 20th reliquidations. See Protests and Entries,

ECF No. 6. CBP denied both of BRAL’s protests on March 5, 2020. See id.

         One entry, Entry No. 949-0008813-2, was again reliquidated by CBP on March 13, 2020.

See Entries, ECF No. 6. BRAL did not protest the second reliquidation of this entry, yet it has

attempted to challenge the March 13th reliquidation in this court action anyway. See Summons,

ECF No. 1. Because BRAL did not protest the March 13th reliquidation of Entry No. 949-

0008813-2, that reliquidation became final and conclusive on all parties in accordance with 19



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U.S.C. §§ 1514(a) and 1514(c)(3). As a consequence of BRAL’s failure to protest the March

13th reliquidation, this Court lacks jurisdiction over Entry No. 949-0008813-2. Accordingly, our

partial motion to dismiss should be granted.

                                           ARGUMENT

   I.       STANDARD OF REVIEW

         When ruling on a motion to dismiss pursuant to USCIT Rule 12(b)(1), the Court’s

determination of subject matter jurisdiction is a threshold inquiry. Steel Co. v. Citizens For A

Better Environment, 523 U.S. 83, 94-95 (1998). Whether to grant a motion to dismiss for lack of

jurisdiction is a question of law. JCM Ltd. v. United States, 210 F.3d 1357, 1359 (Fed. Cir.

2000); see also Scheuer v. Rhodes, 416 U.S. 232, 236 (1974). Where jurisdiction is challenged

pursuant to Rule 12(b)(1), the burden rests on the plaintiff to prove that jurisdiction exists.

Pentax Corp. v. Robinson, 125 F.3d 1457, 1462 (Fed. Cir. 1997), modified in part, 135 F.3d 760

(Fed. Cir. 1998) (citation omitted).

   II.      THE COURT LACKS JURISDICTION OVER ENTRY NO. 949-0008813-2

         BRAL failed to file a protest against the March 13, 2020 reliquidation of Entry No. 949-

0008813-2. In its complaint, BRAL alleges that “[t]he subject plywood in its imported condition

was defective.” Compl. ¶ 11. As a result, BRAL claims that CBP should have reduced the

appraised value of the plywood “to 18% of the original value of the merchandise” and assessed

“ad valorem duties and fees on the reappraised value of the merchandise.” Compl. ¶ 22.

         Pursuant to 28 U.S.C. § 1581(a), this Court has “exclusive jurisdiction of any civil action

commenced to contest the denial of a protest, in whole or in part,” under 19 U.S.C. § 1515.

Section 1515 requires an aggrieved party to file a protest under 19 U.S.C. § 1514. Pursuant to 19

U.S.C. §§ 1514(a) and 1514(c)(3), certain decisions of CBP become final and conclusive to all



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persons unless a protest is filed within 180 days after the date of liquidation or reliquidation. See

19 U.S.C. § 1514(c)(3) (“A protest of a decision, order, or finding described in subsection (a)

shall be filed with the Customs Service within 180 days after but not before -- (A) date of

liquidation or reliquidation,…”). The decisions identified in the statute (which are subject to this

rule of finality) include “the appraised value of merchandise” and “the liquidation or

reliquidation of an entry.” 19 U.S.C. § 1514(a).

       If a protest is properly made and denied by CBP, an action to challenge the denial may be

filed with this Court pursuant to 28 U.S.C. § 1581(a). “A prerequisite, therefore, to jurisdiction

by the court over an action of this nature is a denial of a valid protest.” Washington Int’l Ins. Co.

v. United States, 16 CIT 599, 601 (1992). Accordingly, this Court lacks section 1581(a)

jurisdiction over claims that are not properly protested in accordance with 19 U.S.C. § 1514, i.e.,

within 180 days after the date of liquidation, reliquidation, or other decision as to which a protest

is made. See e.g., Indus. Chemicals, Inc. v. United States, 335 F. Supp. 3d 1327, 1330 (Ct. Int’l

Trade 2018) (“To the extent that Plaintiff contests the liquidation of its entries, its protest was

untimely because it was not filed within 180 days of liquidation of its entries. The court does not

have jurisdiction over the invalid protest.”).

       BRAL did not protest the March 13, 2020 reliquidation of Entry No. 949-0008813-2

before commencing this action. Entry No. 949-0008813-2 was entered on January 22, 2018, was

then suspended in accordance with the Orders, and became deemed liquidated by operation of

law on October 1, 2019 because CBP did not liquidate the entry within the statutory time-period

for doing so. See Entries, ECF No. 6. 19 U.S.C. § 1504(d) governs deemed liquidations and

provides, in relevant part, that “when a suspension required by statute or court order is removed,”

any entries that remain unliquidated more than six months after CBP receives notice from



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Commerce of the lifting of the suspension “shall be treated as having been liquidated at the rate

of duty, value, quantity, and amount of duty asserted by the importer of record.”

       In accordance with 19 U.S.C. § 1501, CBP then reliquidated Entry No. 949-0008813-2

(and eight other entries) on December 20, 2019. See Entries, ECF No. 6. 19 U.S.C. § 1501,

which provides that CBP may reliquidate an entry within ninety (90) days of the original

liquidation, states as follows:

               A liquidation made in accordance with section 1500 or 1504 of this
               title or any reliquidation thereof made in accordance with this
               section may be reliquidated in any respect by U.S. Customs and
               Border Protection, notwithstanding the filing of a protest, within
               ninety days from the date of the original liquidation. Notice of
               such reliquidation shall be given or transmitted in the manner
               prescribed with respect to original liquidations under section
               1500(e) of this title.

On December 23, 2019, BRAL protested the December 20th reliquidations, and CBP denied the

protest on March 5, 2020. See Protests, ECF No. 6.

       Soon thereafter, on March 13, 2020, CBP reliquidated Entry No. 949-0008813-2 a second

time. See Entries, ECF No. 6. Although the March 13th reliquidation was made more than 90

days after the original October 1, 2019 deemed liquidation, to properly challenge the second

reliquidation BRAL was required to protest it. Because BRAL did not, the March 13th

reliquidation became final and conclusive on all parties. See United States v. Great Am. Ins. Co.

of New York, 229 F. Supp. 3d 1306, 1319 (Ct. Int’l Trade 2017) (noting that “in the event CBP

reliquidates an entry pursuant to § 1501, the reliquidation—not the original liquidation—

becomes ‘final and conclusive.’ See id. § 1514(a)(5)(governing the finality of reliquidations)).”

       In United States v. Am. Home Assur. Co., 789 F.3d 1313, 1316 (Fed. Cir. 2015) (AHAC),

the Government brought a collection action against AHAC, a surety, to recover antidumping

duties and interest owed on two entries made by the importer, JCOF. CBP had first liquidated

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the two entries on June 25, 2004. Id. at 1317. Nearly a year later, on June 3, 2005, CBP

reliquidated the entries, well after the 90 day period provided by 19 U.S.C. § 1501. Id. AHAC

argued that the untimely June 2005 reliquidations should be considered void for violating 19

U.S.C. § 1501. Id. at 1319-20. The U.S. Court of Appeals for the Federal Circuit disagreed and

held that “even though it is undisputed that Customs’ 2005 reliquidations were erroneous,

AHAC’s failure to challenge those reliquidations in the Court of International Trade resulted in

those liquidations becoming final and conclusive.” Id. at 1323 (citations omitted). In support of

its decision, the Federal Circuit discussed its earlier precedent, Juice Farms, Inc. v. United

States, 68 F.3d 1344 (Fed. Cir. 1995), as follows:

               In Juice Farms, we directly addressed whether the time limit for
               protests set forth in § 1514(a) “applies to allegedly illegal
               liquidations,” such as Customs’ 2005 reliquidations of JCOF’s
               entries. 68 F.3d at 1345. We held that “all liquidations, whether
               legal or not, are subject to the timely protest requirement” and that
               “[w]ithout a timely protest, all liquidations become final and
               conclusive under 19 U.S.C. § 1514.” Id. at 1346.

       The Federal Circuit’s holdings in AHAC and Juice Farms are a consistent extension of

previous decisions from this Court and the Federal Circuit holding that improper liquidations or

reliquidations are final and conclusive unless timely protested. In Mitsubishi Elecs. Am. v.

United States, 865 F. Supp. 877, 879 (Ct. Int’l Trade 1994), plaintiff argued that because CBP

“reliquidated the entries more than 90 days after the notice of liquidation, in violation of 19

U.S.C. § 1501… the Court should disregard the illegal reliquidation of the merchandise and

recognize the initial liquidation of the merchandise as the final protestable action by Customs.”

This Court disagreed with plaintiff and held as follows:

               An untimely or otherwise illegal reliquidation by Customs is not
               void; it is only voidable. See e.g., Omni U.S.A., Inc. v. United
               States, 6 Fed. Cir. (T) 99, 103, 840 F.2d 912, 915 (1988); United
               States v. A.N. Deringer, 66 C.C.P.A. 50, 55, 593 F.2d 1015, 1020

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               (1978). An importer must raise a contention of illegality by filing
               a timely protest against the reliquidation; otherwise, the
               reliquidation will become final and conclusive. 19 U.S.C. §
               1514(a)(5); Commonwealth Oil Refining Co. v. United States, 67
               Cust. Ct. 155, 163, 332 F. Supp. 203, 209 (1971). Because
               plaintiff did not protest the legality of the reliquidation within 90
               days of the reliquidation, it has become final and conclusive,
               regardless of its timeliness. The Court will not disregard it.

Id. at 879-80; see also Omni U.S.A., Inc. v. United States, 840 F.2d 912 (Fed. Cir. 1988) (holding

that CBP’s premature and unlawful liquidations became final when the importer failed to file a

timely protest or make a timely request for reliquidation under 19 U.S.C. § 1520(c)).

       Based on the foregoing, BRAL has failed to satisfy the jurisdictional prerequisites for

commencing the present action with respect to Entry No. 949-0008813-2. Although BRAL

timely protested the December 20, 2019 reliquidation of Entry No. 949-0008813-2, it did not

protest the March 13, 2020 reliquidation before bringing this action to challenge that second

reliquidation. Admittedly, the March 13th reliquidation was made more than 90 days after the

deemed liquidation, but controlling precedent is clear that BRAL was required to protest that

reliquidation in order to challenge the reliquidation before this Court. Because BRAL did not,

the March 13th reliquidation became final and conclusive, foreclosing all further claims related to

the valuation of its merchandise, the initial liquidation, and the reliquidations of the entry. As a

result, this Court lacks 28 U.S.C. § 1581(a) jurisdiction over Entry No. 949-0008813-2, and

therefore, the entry should be dismissed from the action.




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                                     CONCLUSION

       For these reasons, we respectfully request that the Court grant our partial motion to

dismiss.

                                             Respectfully submitted,

                                             BRIAN M. BOYNTON
                                             Acting Assistant Attorney General

                                             JEANNE E. DAVIDSON
                                             Director

                                              /s/ Justin R. Miller
                                             JUSTIN R. MILLER
                                             Attorney-in-Charge
                                             International Trade Field Office

Of Counsel:                                  /s/ Alexander Vanderweide
Sabahat Chaudhary                            ALEXANDER VANDERWEIDE
Office of Chief Counsel                      Senior Trial Attorney
U.S. Customs & Border Protection             Department of Justice, Civil Division
                                             Commercial Litigation Branch
                                             26 Federal Plaza, Room 346
                                             New York, New York 10278
                                             Tel. (212) 264-9230 or 0482
                                             Attorneys for Defendant
May 3, 2021




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UNITED STATES COURT OF INTERNATIONAL TRADE

                                                      :
BRAL CORPORATION,                                     :
                                                      :
                                                      :
                               Plaintiff,             :        Court No. 20-00154
                                                      :
                        v.                            :
                                                      :
UNITED STATES,                                        :
                                                      :
                               Defendant.             :
                                                      :

                CERTIFICATE OF COMPLIANCE PURSUANT TO USCIT
                     STANDARD CHAMBER PROCEDURE 2(B)

       I, Alexander Vanderweide, a Trial Attorney in the Office of the Assistant Attorney

General, Civil Division, Commercial Litigation Branch, International Trade Field Office, who is

responsible for the foregoing memorandum, relying upon the word count feature of the word

processing program used to prepare the brief, certify that this brief complies with the type-

volume limitation under USCIT Standard Chamber Procedure 2(B) and contains 2428 words.


                                                     /s/ Alexander Vanderweide
